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   Texas Law Firm Didn't Disclose Possible Conflict Involving Bankruptcy
  Judge; Jackson Walker filed court papers that said it was a disinterested
  adviser in major chapter 11 cases and omitted that one of its bankruptcy
                lawyers was living with the presiding judge
                                           WSJ Pro Bankruptcy
                                            October 27, 2023


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Section: WSJ PRO; Pro Bankruptcy Bankruptcy
Length: 1333 words
Byline: By Alexander Gladstone and Akiko Matsuda

Body


Texas law firm Jackson Walker said in court filings that it was an unbiased advocate for the
businesses it was guiding through bankruptcy in recent years. It never mentioned that one of its
bankruptcy lawyers at the time was in a romantic relationship with the judge overseeing at least
two dozen of those chapter 11 cases.

Jackson Walker didn't disclose that one of its law partners, Elizabeth Freeman, was living with
bankruptcy judge David R. Jones, and didn't correct its paperwork in the bankruptcy cases after
learning of the couple's relationship. The possible conflict of interest could have kept Jackson
Walker off chapter 11 cases it filed in Houston's bankruptcy court-and that earned the firm nearly
$10 million in fees, The Wall Street Journal found through a review of court records.

Jones resigned from the bench earlier this month amid an official misconduct probe by the
federal appeals court that appointed him after he confirmed his romantic relationship with
Freeman to the Journal. Earlier this week, the Justice Department's Office of the U.S. Trustee,
which oversees the nation's bankruptcy courts, said it has started to review Jackson Walker's
fee requests in light of Jones's resignation.
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Jackson Walker told the Journal earlier this month that the firm in March 2021 first learned of an
allegation that Freeman was in a relationship with Jones. Jackson Walker declined to comment
on when it verified that the relationship was real and on the fee requests. It said in a court filing
Thursday regarding a pending fee request that it "is working to evaluate and address the issues
that have come to light over the past three weeks."

Jones didn't respond to a request for comment. He previously told the Journal he believed the
relationship didn't need to be disclosed because he and Freeman aren't married and he was
entitled to a degree of privacy. Freeman declined to comment.

Law firms, bankers and other advisers in chapter 11 cases are required to be neutral and must
reveal potential conflicts of interest arising from personal or professional connections to a
bankrupt company's creditors and insiders, and to other professionals and "parties in interest,"
meaning people or firms that could either benefit or be harmed by the outcome of the cases.
Typically, advisers search their internal records for conflicts with a company's owners,
stakeholders and other potential parties in interest, including judges and court personnel.

Other chapter 11 advisers including consulting powerhouse McKinsey have faced civil sanctions
or criminal probes for failing to disclose business or personal connections in bankruptcy court,
according to legal experts and court records.

"The goal behind disclosing connections is the transparency of the system," said Nancy
Rapoport, a law professor at the William S. Boyd School of Law at the University of Nevada Las
Vegas who specializes in bankruptcy ethics.

"People want to know what advantages people might have," Rapoport said. "A failure to disclose
causes the maelstrom we're experiencing now, because it leads to other questions. Who else
knew, and when did those persons know it?"

Jackson Walker served as co-counsel alongside lawyers from Kirkland & Ellis, the nation's
leading firm for filing major corporate bankruptcies, in at least 17 cases that Jones oversaw and
on which Freeman billed hours, the Journal found. In addition to cases overseen by Jones,
Freeman and Jackson Walker worked on cases before other judges for which he served as
mediator. Kirkland & Ellis declined to comment.

Property records show Jones and Freeman bought a house together in 2017, when she was
working as his law clerk, before she joined Jackson Walker in 2018. The code of conduct for
federal judges states they should recuse themselves from hearing cases if their impartiality
might reasonably be questioned, including proceedings in which their spouses or domestic
partners are working as lawyers.

If Jackson Walker was aware of the relationship, the firm had its own obligation to divulge it in
court to its clients, their creditors and other stakeholders in the chapter 11 cases, bankruptcy
experts said. The firm also had an obligation to correct previously submitted court documents if
they lacked the disclosure of the relationship, the experts said.

In 2020, a shareholder of McDermott International sought Jones's recusal from the engineering
company's bankruptcy after saying he had received an anonymous letter alleging that Jones and
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Freeman were in a relationship and lived together. Another Houston judge, Marvin Isgur, denied
the recusal motion in March 2021 due to lack of evidence. The allegation, however, prompted
Jackson Walker to conduct an internal inquiry and to consult outside ethics counsel, a
spokesman for the firm told the Journal earlier this month.

Freeman later stopped working and billing on bankruptcy cases pending before Jones at
Jackson Walker, court records show. But Jackson Walker has never filed paperwork to correct
court documents it previously submitted in Houston, which became in recent years a top venue
for corporate restructurings.

Legal experts said that because Freeman remained a partner at Jackson Walker, it should have
disclosed her relationship with Jones in cases he oversaw or mediated, including for chapter 11
cases that she wasn't personally working on. Between March 2021, when the relationship was
first alleged in court, and December 2022, when Freeman left the firm to start her own solo
practice, Jackson Walker filed at least six applications to be officially retained as companies'
legal counsel in bankruptcy cases before Jones.

In two of those cases, involving construction startup Katerra and pipeline builder Strike, Jackson
Walker included Jones in its filings as a potential party in interest and indicated that it searched
his name against its internal records and didn't find any connections involving him.

Other firms have disclosed connections to court personnel in applications to be retained as
advisers. Texas law firm Gray Reed disclosed in 2020 as part of a retention application in
Whiting Petroleum's bankruptcy that Jones had once worked as an IT contractor for the firm
while he was attending law school.

Failing to disclose connections in bankruptcy has had consequences for individuals and firms. In
1998, John Gellene, at the time a bankruptcy lawyer at law firm Milbank, was found to have
concealed that he had worked for a creditor of a company he was representing in bankruptcy.
He was convicted of making false declarations under penalty of perjury and served time in
prison. Milbank declined to comment.

The former bankruptcy consulting practice of Mesirow Financial was denied fees after a partner
working on the bankruptcy case of a Caesars Entertainment unit was found in 2016 to have had
an affair with a lawyer for the company. Mesirow didn't immediately respond to a request for
comment.

More recently McKinsey, paid a $15 million settlement in 2019 without admitting wrongdoing
after the U.S. Trustee accused the firm of failing to adequately disclose its client and business
connections in three bankruptcy cases. McKinsey said at the time it was settling to move
forward and focus on clients and that the settlement process provided clarity for the filing of
future disclosures. McKinsey has also faced years of civil litigation alleging it concealed its
conflicts to win assignments advising businesses, which it denies.

The U.S. Trustee said in court papers Wednesday that Jackson Walker didn't disclose the
relationship between Freeman and Jones when it applied last year to represent alternative asset
firm GWG Holdings "despite recent admissions by a spokesperson for Jackson Walker that it
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learned of their relationship in March 2021." A court hearing that had been scheduled for
Thursday on Jackson Walker's fee request in the GWG case was postponed.

Write to Alexander Gladstone at alexander.gladstone@wsj.com       and Akiko Matsuda at
akiko.matsuda@wsj.com


Notes

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                        EXHIBIT 3
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Lawsuit alleges undisclosed relationship involving federal judge that could cloud...




                                             10/6/23 Bus. Insider 23:26:28

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                                                     October 6, 2023


    Lawsuit alleges undisclosed relationship involving federal judge that could cloud Corizon bankruptcy deal

                                           Dakin Campbell,Nicole Einbinder

Oct 06, 2023

A complaint filed this week in federal court casts doubt over the neutrality of the judge who oversaw bankruptcy settlement
talks involving Corizon, once the nation’s largest prison health care provider.

David Jones, the chief bankruptcy judge for the Southern District of Texas, and Elizabeth Freeman, his former law clerk and
a successful bankruptcy attorney, have secretly been in a romantic relationship for years, according to the complaint, which
was obtained by Insider.

Corizon, a leading private prison health provider, pulled a Texas Two-Step, putting assets in YesCare and debts in
Tehum.Tehum then filed for bankruptcy, potentially leaving hundreds of prisoners claiming malpractice with pennies on the
dollar.A court document claims the judge mediating the settlement deal is in a romantic relationship with YesCare’s attorney.

Last year, Corizon began a controversial maneuver known as a Texas Two-Step, splitting the company into two parts, one
with most of its assets, known as YesCare, and one with most of its debts, known as Tehum, which then filed for bankruptcy.
The Two Step was effectively designed to protect YesCare’s assets, including public sector contracts worth more than $1
billion. According to a legal filing, Tehum director Isaac Lefkowitz said the Two Step can be used to “force plaintiffs into
accepting lower settlements.”

Freeman represented YesCare Corp. in the settlement talks. And the talks were overseen by Jones.

At least 350 malpractice suits against Corizon and tens of millions of dollars in unpaid invoices are now folded into that
proposed deal, which awaits approval by the creditors. It offers prisoners who were injured or died under Corizon’s care only
$5,000 each.

While the complaint, submitted on Wednesday in the Southern District of Texas, is currently not available for public access
on the docket, Insider obtained a copy from Michael Van Deelen, who filed the suit pro se. It alleges that Jones retaliated
against him for “outing” the judge’s allegedly inappropriate relationship in a previous legal filing.

Jones was appointed in May by US Bankruptcy Judge Christopher Lopez to act as a mediator in the Tehum case, to oversee
talks between the company and its largest creditors. Freeman signed off on Jones’ appointment as mediator, according to a
stipulation and agreed order submitted in the bankruptcy docket. Neither Jones nor Freeman have disclosed their alleged
relationship, according to Van Deelen’s complaint.

Frank Ozment, who represents an Alabama prisoner, Tracy Grissom, who said she was subjected to negligent Corizon care,

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Lawsuit alleges undisclosed relationship involving federal judge that could cloud...



called the claims “very disturbing” if true.

”It’s very important that the mediator be neutral,” Ozment told Insider. “If the allegations suggest that the mediator was not
neutral, then that could potentially bear a lot of weight on whether the plan is reasonable.”

Jones has denied any romantic relationship with Freeman, according to the complaint.

Jones, Freeman, and YesCare did not immediately respond to queries.
 A million-dollar home
Van Deelen’s case dates back to June 2020, when he filed a shareholder suit in Texas state court against employees of
engineering company McDermott International, alleging fraud and a breach of duty. Six months earlier, McDermott had
declared bankruptcy. Van Deelen says he and his wife lost their entire investment.

McDermott was represented in the case by law firm Jackson Walker, one of the country’s top bankruptcy firms. Freeman
clerked for Jones for six years, and she went on to become a partner at Jackson Walker, where she was one of the attorneys
assigned to the McDermott bankruptcy. Van Deelen’s case was ultimately “removed” to Jones’ bankruptcy court, according
to Van Deelen’s complaint.

Freeman now runs a Houston-based law office, The Law Office of Liz Freeman, that specializes in bankruptcy litigation and
reorganization. Van Deelen claims Freeman left her prestigious job at Jackson Walker because “the relationship between her
and Defendant Jones was made generally known.”

The document alleges that, while working the McDermott case, Freeman was Jones’ “live-in girlfriend” in a home worth
more than a million dollars. Exhibits attached to the complaint show that Jones and Freeman have since June 2017 been listed
as co-owners of a four-bed, two-bath, 3,800 square foot home on a leafy street in Houston that was assessed at $1.07 million.

Meanwhile, two people, “probably Freeman’s parents” moved into a $1.5 million home that Jones owns in Coldspring, an
hour outside of Houston, according to another exhibit. The complaint alleges that Freeman had been living in that property
since 2007, and that Jones purchased it in 2016.

Van Deelen said in the suit that he learned of the relationship after receiving an anonymous letter in March 2021, also
attached as an exhibit. It describes alleged corruption that involved Jones, Jackson Walker, and Freeman “in a scheme in
which corporate bankruptcy filers would hire Jackson Walker to represent them and then get favorable treatment from
Defendant Jones because of his amorous relationship with Freeman.”

Matt Cavenaugh, a partner at Jackson Walker, didn’t immediately respond to a request for comment.

According to the complaint, the letter detailed the “corruption involving Judge David R. Jones” and his romantic relationship
with Freeman.

”Instead of personally avoiding the McDermott bankruptcy case because of his relationship with Jackson Walker attorney
Freeman,” the complaint says, Jones “assigned the case to himself.” He didn’t disclose that he had a personal relationship
with Freeman, according to the complaint.

Van Deelen submitted the letter in a motion seeking to get Jones removed from his case. Judge Marvin Isgur, another
bankruptcy judge in the court, later denied it.

Van Deelen said that when he filed the complaint, he also hand delivered it to Jones in the Houston courthouse. After making
his way through the maze of offices, Van Deelen said he turned a corner to find Jones eating a sandwich. When the judge saw
who it was, “he turned white,” Van Deelen said.

He said Jones accepted the envelope without saying a word.

Read the original article on Business Insider

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---- Index References ----

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News Subject: (Bankruptcies (1BA08); Business Management (1BU42); Corporate Events (1CR05); Crime (1CR87);
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UPDATE 2-Top US bankruptcy judge, under ethics review, steps back from major cases




                                            10/13/23 Reuters News 20:46:05

                                                     Reuters News
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                                                     October 13, 2023


              UPDATE 2-Top US bankruptcy judge, under ethics review, steps back from major cases

                                                      Dietrich Knauth

NEW YORK, Oct 13 (Reuters)

(Adds details on misconduct complaint in paragraphs 5-6)

By Dietrich Knauth

NEW YORK, Oct 13 (Reuters) - U.S. Bankruptcy Judge David Jones in Houston, who oversees more major Chapter 11 cases
than any other U.S. judge, said on Friday he is facing an ethics review over a previously undisclosed romantic relationship
and is stepping down from handling large cases.

Jones said over the weekend he has been in a years-long romantic relationship and shared a home with bankruptcy attorney
Elizabeth Freeman, who had been a law clerk for him. Until recently, Freeman worked at Jackson Walker, a local law firm
that filed many cases in Jones’ Houston courthouse.

Jones said at a court hearing in the bankruptcy case of drilling company Arethusa Offshore that he is under investigation from
the New Orleans-based 5th U.S. Circuit Court of Appeals and that all his bankruptcy cases involving large companies would
be assigned to other judges during the investigation.

”I hope that you can appreciate that the integrity of the process is simply more important than a single case and you have my
genuine apologies for the inconvenience that I am causing,” Jones told the company’s attorneys.

Chief 5th U.S. Circuit Judge Priscilla Richman, in a misconduct complaint made public later on Friday, said there was
probable cause to believe Jones violated the codes of conduct that govern judges by, among other things, failing to avoid an
appearance of impropriety.

Richman said that while Jones and Freeman were not married, the factors that apply to recusing from a case involving a
judge’s spouse apply equally when a judge maintains both a household and an intimate relationship with someone they are
not married to.

Yet, she wrote, Jones never recused himself from cases involving Jackson Walker or disclosed his relationship with Freeman.
The judge approved attorneys’ fees sought by Jackson Walker for work on bankruptcy matters in which billing records
showed Freeman performed “substantial” services, Richman said.

The Houston bankruptcy court on Friday also updated its case assignment rules to remove Jones from a two-judge panel that
oversees all complex cases involving more than $200 million in debt.


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UPDATE 2-Top US bankruptcy judge, under ethics review, steps back from major cases



Legal ethics experts have said Jones should have disclosed the relationship or recused himself from cases involving Jackson
Walker.

A spokesman for Jackson Walker said the firm consulted outside ethics counsel after learning about the romantic relationship
in March 2021.

”From the time we first learned of this allegation Ms. Freeman was instructed not to work or bill on any cases before Judge
Jones,” Jackson Walker spokesman Jim Wilkinson said. “We are confident that we acted responsibly.”

Freeman, through her attorney, declined to comment.

Jones has been the busiest bankruptcy judge in the U.S. since January 2016, overseeing 11% of all Chapter 11 bankruptcies
involving more than $100 million in liabilities, according to data from Debtwire, which provides research and intelligence on
credit markets. He recently presided over the bankruptcies of JC Penney, Neiman Marcus, Party City and Chesapeake
Energy, among many others.

The two-judge panel for complex cases is an outlier among U.S. bankruptcy courts, which typically assign cases randomly
among all of their judges.

Bankruptcy Judge Marvin Isgur, who stepped down from the panel a year ago, will replace Jones, and all of Jones’ complex
cases will be randomly assigned to Isgur or the panel’s other member, U.S. Bankruptcy Judge Christopher Lopez.

(Reporting by Dietrich Knauth; Additional reporting by Nate Raymond; Editing by Alexia Garamfalvi, Leslie Adler, Rod
Nickel and William Mallard) ((Dietrich.Knauth@thomsonreuters.com;))


---- Index References ----

Company: ARETHUSA OFFSHORE-2 DRILLING; THE NEIMAN MARCUS GROUP LLC; PARTY CITY HOLDINGS
INC.; CHESAPEAKE ENERGY CORPORATION; JACKSON WALKER LLP; OLD COPPER COMPANY, INC.

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(1GO18); Judicial Cases & Rulings (1JU36); Legal (1LE33); Judicial Cases & Rulings (1JU36); Top World News (1WO62);
Corporate Bonds (1XO30); Debt Restructuring (1RE45); Corporate Events (1CR05); Legal (1LE33); Corporate Governance
(1XO27); Bankruptcies (1BA08))

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UPDATE 2-Top US bankruptcy judge, under ethics review, steps back from major cases




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  Bankruptcy Judge Jones Named in a Lawsuit Over Romantic Relationship
                       With Local Lawyer -- WSJ
                                     Dow Jones Institutional News
                              October 7, 2023 Saturday 11:52 PM GMT


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Length: 736 words
Byline: By Alexander Gladstone and Andrew Scurria

Body


A Texas bankruptcy judge has been in a romantic relationship with a lawyer whose former firm
brought major chapter 11 cases to his court, a premier landing spot for corporate
reorganizations.

Judge David R. Jones, who has overseen some of the nation's largest chapter 11 cases in the
U.S. Bankruptcy Court in Houston, told The Wall Street Journal he is in a relationship and has
shared a home for years with bankruptcy lawyer Elizabeth Freeman.

Freeman worked at Texas law firm Jackson Walker's bankruptcy practice group until December
2022, when she left to start her own law firm. Jackson Walker, a leading Texas bankruptcy firm,
filed chapter 11 cases that were assigned to Judge Jones while she was still a partner there.

The relationship between the judge and the lawyer surfaced publicly earlier this week when an
individual plaintiff sued Judge Jones over rulings that he made while presiding over the 2020
bankruptcy case of offshore-drilling company McDermott International. The law firm Kirkland &
Ellis represented McDermott with Jackson Walker as local counsel.

The plaintiff, Michael Van Deelen, was a shareholder in McDermott and has unsuccessfully
pursued a variety of claims against the company, its advisers and the judge in bankruptcy court.
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In his lawsuit, Van Deelen alleged that Jones and Freeman's romantic relationship amounted to
a conflict of interest and tainted his rulings in the McDermott case.

The judge confirmed the relationship in an interview with the Journal and said that he and
Freeman agreed years ago that she herself would never appear in his courtroom.

Jones said he believes the relationship didn't need to be disclosed because he and Freeman
aren't married and there was no economic benefit to him from her legal work.

"I came to the conclusion that I had no duty to disclose," said the judge, who joined the Houston
court in 2011. He added that he didn't want to fuel a perception that "if you were going to be
appearing, you should go out and hire Jackson Walker."

Jackson Walker files bankruptcy cases on its own, but is better known as local counsel working
alongside large bankruptcy firms that have made the Houston bankruptcy court a top venue in
recent years. Jackson Walker, on its website, said it has been local counsel for more sizable
companies in chapter 11 than any other firm since 2022 and often serves as co-counsel
alongside Kirkland & Ellis, which is among the nation's most prolific filers of large corporate
bankruptcies.

Jackson Walker declined to comment. Representatives for Kirkland & Ellis didn't respond to a
request for comment.

A representative with the Judicial Council of the Fifth Circuit, which is responsible for reviewing
complaints of judicial misconduct in Texas courts, didn't respond to a request for comment.

Jones hasn't formally responded to Van Deelen's claims in court and declined to comment on
the merits of the lawsuit. He also said he was under no obligation to recuse himself from cases
involving Jackson Walker or Freeman's new solo firm, the Law Office of Liz Freeman.

"If for any reason I thought that I should have done something more, I would have done it," the
judge said. "I'm certainly not afraid of my relationship, I just simply think I'm entitled to a certain
degree of privacy. I and I alone made the call that so long as she never appeared in front of me,
that was sufficient."

Jones said that he would have had a recusal obligation for cases involving Freeman's firm only if
they had been married and had communal property. Judge Jones owns the home in Houston
which he and Freeman reside in, and pays utilities and other expenses on the home.

Adam Levitin, a professor at Georgetown University Law Center who focuses on bankruptcy and
commercial law, said that if Judge Jones was in a romantic relationship with a lawyer from
Jackson Walker, he shouldn't have heard any bankruptcy cases in which Jackson Walker
represented the company.

"It creates an appearance of impropriety and partiality," Levitin said. "A lawyer's conflicts are
imputed to all other attorneys at the firm. She was a partner of the firm. It creates the possibility
that a litigant feels that they lost not because of the merits of a case, but because of the
relationships the judge has."
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Write to Alexander Gladstone at alexander.gladstone@wsj.com   and Andrew Scurria at
Andrew.Scurria@wsj.com

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                        EXHIBIT 6
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                                                                                  Exhibit 6A
                                                                                 Judge Jones
                                                                       Jackson Walker Fee Order Entered
                                                                                 Open Cases

                                                                                          Date of
                                                          Confirmation                                Retention      Fee App       Total Fees                      Ms. Freeman
     Debtor Name            Case Number   Petition Date                     Position     Retention                                                Total Expenses
                                                             Status                                    App ECF      Order ECF      Awarded                             Fees
                                                                                           App
  Westmoreland Coal                                                       Debtor Local
                             18-35672      10/9/2018       Confirmed                     11/8/2018       376           2249       $676,806.00       $87,114.29     $129,629.50
      Company                                                               Counsel

                                                                          Debtor Local
J.C. Penney Company, Inc.    20-20182      5/15/2020       Confirmed                     6/11/2020       685           2874       $1,087,263.00     $14,219.21     $286,159.00
                                                                            Counsel

   Whiting Petroleum                                                      Debtor Local
                             20-32021      4/1/2020        Confirmed                     4/17/2020       173           840        $695,091.50       $3,541.94      $36,115.00
     Corporation                                                            Counsel

 Neiman Marcus Group                                                      Debtor Local
                             20-32519      5/7/2020        Confirmed                      6/3/2020       750           2147       $380,573.50       $6,103.70      $49,910.00
      LTD, LLC                                                              Counsel

                                                                          Debtor Local
    Stage Stores LLC         20-32564      5/10/2020       Confirmed                      6/4/2020       385           983        $182,655.50       $2,090.65      $29,295.00
                                                                            Counsel

  Chesapeake Energy                                                       Debtor Local
                             20-33233      6/28/2020       Confirmed                     7/16/2020       370           3509       $912,742.00       $21,275.94     $192,258.00
     Corporation                                                            Counsel
                                                                            Debtor
     Covia Holdings
                             20-33295      6/29/2020       Confirmed       Conflicts     7/21/2020       195           1304       $325,181.00       $6,200.85      $51,021.00
      Corporation
                                                                           Counsel
Bouchard Transportation                                                   Debtor Local                              20-34758 at
                             20-34682      9/28/2020       Confirmed                     10/28/2020      173                      $436,790.00       $5,371.86      $23,380.00
       Co., Inc.                                                            Counsel                                     63
                                                                            Debtor
     Mule Sky LLC                                                                                     20-35562 at
                             20-35561     11/13/2020       Confirmed       Conflicts     12/11/2020                    212        $765,173.50       $7,334.20      $54,525.50
   (Gulfport Energy)                                                                                      390
                                                                           Counsel
                                                                          Debtor Local
  Seadrill Partners LLC      20-35740      12/1/2020       Confirmed                     12/23/2020      110           690        $286,885.00       $1,617.25      $28,223.00
                                                                            Counsel

                                                                          Debtor Local
    Seadrill Limited         21-30427      2/10/2021       Confirmed                      3/8/2021       250           1340       $501,242.00       $2,123.05       $5,594.50
                                                                            Counsel


  Brilliant Energy, LLC      21-30936      3/16/2021        No Plan          Other       4/13/2021        68           241        $186,363.50       $2,246.63         $0.00


                                                                          Debtor Local
      Katerra Inc.           21-31861      6/6/2021        Confirmed                     6/29/2021       289           1639       $858,653.01       $3,934.72         $0.00
                                                                            Counsel
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                                                                                       Date of
                                                        Confirmation                               Retention    Fee App     Total Fees                      Ms. Freeman
    Debtor Name           Case Number   Petition Date                    Position     Retention                                            Total Expenses
                                                           Status                                   App ECF    Order ECF    Awarded                             Fees
                                                                                        App
 Basic Energy Services,                                                Debtor Lead
                           21-90002      8/27/2021       Confirmed                    12/13/2021     809         1511      $1,543,432.34     $3,082.84         $0.00
          Inc.                                                           Counsel

                                                                       Debtor Local
      Strike LLC           21-90054      12/6/2021       Confirmed                     1/6/2022      363         1248       $875,026.00      $12,331.41        $0.00
                                                                         Counsel

4E Brands Northamerica                                                 Debtor Lead
                           22-50009      2/22/2022       Confirmed                    3/24/2022       72         427-1      $859,425.50      $7,300.81         $0.00
         LLC                                                             Counsel
                                                                         Debtor
   Sungard AS New
                           22-90018      4/11/2022       Confirmed      Conflicts     5/10/2022      211         897        $414,495.00      $5,966.56         $0.00
      Holdings
                                                                        Counsel

                                                                                                                   Totals $10,987,798.35    $191,855.91     $886,110.50
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                                                                                Exhibit 6B
                                                                               Judge Jones
                                                                     Jackson Walker Fee Order Entered
                                                                              Closed Cases

                                                                                       Date of
                                                        Confirmation                              Retention    Fee App      Total Fees     Total Expenses Ms. Freeman
     Debtor Name          Case Number   Petition Date                    Position     Retention
                                                           Status                                  App ECF    Order ECF     Awarded          Awarded          Fees
                                                                                        App
                                                                       Debtor Local
   Jones Energy Inc.       19-32112      4/14/2019       Confirmed                    4/23/2019     125         251         $92,854.00       $20,915.86   $10,582.00
                                                                         Counsel

McDermott International                                                Debtor Local
                           20-30336      1/21/2020       Confirmed                    2/19/2020     424         1021        $391,655.00      $21,154.16   $114,002.50
        Inc.                                                             Counsel

   Sheridan Holding                                                    Debtor Local
                           20-31884      3/23/2020       Confirmed                    4/2/2020      130         213         $11,779.50       $12,025.30    $3,565.00
    Company I, LLC                                                       Counsel
                                                                          Debtor
  Hornbeck Offshore
                           20-32679      5/19/2020       Confirmed       Conflicts    6/1/2020      132         283         $61,428.00        $798.75      $4,727.50
    Services, Inc.
                                                                         Counsel
                                                                       Debtor Local
Denbury Resources Inc.     20-33801      7/30/2020       Confirmed                    8/28/2020     238       384 & 442     $124,321.50       $890.07     $37,122.50
                                                                         Counsel

                                                                       Debtor Local
   iQor Holdings Inc.      20-34500      9/10/2020       Confirmed                    9/28/2020     154         252         $63,842.00       $3,857.50     $1,670.00
                                                                         Counsel

                                                                       Debtor Lead
     Volusion, LLC         20-50082      7/27/2020       Confirmed                    8/26/2020      74         172         $339,428.00      $3,025.97    $62,897.00
                                                                         Counsel

 Seadrill New Finance                                                  Debtor Local
                           22-90001      1/11/2022       Confirmed                    2/8/2022       94         121         $27,286.00       $21,067.75      $0.00
       Limited                                                           Counsel

   LaForta - Gestao e                                                  Debtor Lead
                           22-90126      6/16/2022        No Plan                     7/15/2022      67         298         $505,907.50      $7,946.11       $0.00
     Investmentos                                                        Counsel


                                                                                                                  Totals   $1,618,501.50    $91,681.47    $234,566.50
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                                                                                            Exhibit 6C
                                                                                      Jones Mediation Cases
                                                                                  Jackson Walker Fees/Expenses
                                                                                           Open Cases

                                                                  Confirmation                     Date of      Retention      Fee App        Fee App       Total Fees     Total Expenses   Ms. Freeman
    Debtor Name            Case Number    Petition Date   Judge                    Position
                                                                     Status                     Retention App    App ECF        Status       Order ECF      Awarded          Awarded            Fees

    Sanchez Energy                                                               Debtor Local
                            19-34508       8/11/2019      Isgur    Confirmed                     10/1/2019        269       Final Approved      1502       $1,905,683.35     $98,468.48     $531,384.50
      Coporation                                                                   Counsel

                                                                                 Debtor Local
  GWG Holdings Inc.         22-90032       4/20/2022      Isgur    Confirmed                     5/19/2022        267       Final Pending                   $801,232.50      $59,972.91     $228,572.81
                                                                                   Counsel

                                                                                 Debtor Local
      HONX, Inc.            22-90035       4/28/2022      Isgur   Plan Pending                   5/31/2022        128        Interim Filed                  $393,782.00      $7,681.61      $71,790.00
                                                                                   Counsel

                                                                                 Debtor Local                                                22-90129 at
Altera Infrastructure LP    22-90130       8/12/2022      Isgur    Confirmed                     9/12/2022        228       Final Approved                  $357,209.50      $6,739.23      $53,445.00
                                                                                   Counsel                                                       20

IEH Auto Parts Holding                                                           Debtor Lead
                            23-90054       1/31/2023      Lopez    Confirmed                      3/2/2023        181       Final Pending
         LLC                                                                       Counsel
                                                                                   Debtor
IEH Auto Parts Holding
                            23-90054       1/31/2023      Lopez    Confirmed      Conflicts       3/2/2023        183         None Filed
         LLC
                                                                                  Counsel
                                                                                   Debtor
      MLCJR LLC             23-90324       5/14/2023      Lopez     No Plan       Conflicts      6/13/2023        433        Interim Filed
                                                                                  Counsel

                                                                                                                                    Totals                 $3,457,907.35    $172,862.23     $885,192.31




                                                                                                                                                                                                          4
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                                                                                        Exhibit 6D
                                                                                  Jones Mediation Cases
                                                                              Jackson Walker Fees/Expenses
                                                                                      Closed Cases

                                                                                              Date of
                                                               Confirmation                              Retention      Fee App        Fee App     Total Fees     Total Expenses   Ms. Freeman
   Debtor Name          Case Number    Petition Date   Judge                    Position     Retention
                                                                  Status                                  App ECF        Status       Order ECF    Awarded          Awarded            Fees
                                                                                               App
                                                                               UCC Local
EXCO Resources, Inc.     18-30155       1/15/2018      Isgur    Confirmed                    2/26/2018     382       Final Approved     122       $1,820,436.59     $68,949.97     $185,702.50
                                                                                Counsel

                                                                              Debtor Local
Tailored Brands, Inc.    20-33900       8/2/2020       Isgur    Confirmed                    9/1/2020      496       Final Approved     1404       $253,420.00      $1,482.05      $57,345.00
                                                                                Counsel


                                                                                                                                        Total     $2,073,856.59    $70,432.02      $243,047.50
